900 F.2d 254Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Michael D. PAESCH, Plaintiff-Appellant,v.Bernard SMITH, Assistant Warden;  Major Hollis Thompson;Classification Teams, et al;  Maryland State Penitentiary;Robert Bond, Counselor, Maryland State Penitentiary;  LT.Morgan, Security Advisor, Maryland State Penitentiary;Major Janorski, Maryland State Penitentiary;  Ms. Goins,Counselor, Maryland State Penitentiary;  Howard Lyles,Ex-Warden, Maryland State Penitentiary;  Officer Powell, CoII, Maryland State Penitentiary;  Officer Randall, Co II,B.C.C.C. Work Release center Defendants-Appellees.
    No. 90-6020.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  March 5, 1990.Decided:  March 21, 1990.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Joseph C. Howard, District Judge.  (C/A No. 89-2315-JH)
      Michael D. Paesch, appellant pro se.
      Glenn Wiliam Bell, Office of the Attorney GENERAL of Maryland, Baltimore, Md., for appellees.
      D.Md.
      DISMISSED.
      Before ERVIN, Chief Judge, and PHILLIPS and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Michael D. Paesch appeals the district court's order dismissing three defendants from his 42 U.S.C. Sec. 1983 action.  The case remains pending as to other defendants.  We dismiss the appeal for lack of jurisdiction.
    
    
      2
      Under 28 U.S.C. Sec. 1291 this Court has jurisdiction over appeals from final orders.  A final order is one which disposes of all issues in dispute as to all parties.  It "ends the litigation on the merits and leaves nothing for the court to do but execute the judgment."   Catlin v. United States, 324 U.S. 229, 233 (1945).
    
    
      3
      As the order appealed from is not a final order, it is not appealable under 28 U.S.C. Sec. 1291.  The district court has not directed entry of final judgment as to particular claims or parties under Fed.R.Civ.P. 54(b), nor is the order appealable under the provisions of 28 U.S.C. Sec. 1292.  Finally, the order is not appealable as a collateral order under Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).
    
    
      4
      Finding no basis for appellate jurisdiction, we dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    